Case 2:17-cr-20151-TLP Document 864 Filed 12/17/20 Pagelof5 PagelD 2913

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IN THE UNITED STATES DISTRICT COURT DATE: LAG ( 20

FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION TIME:__16°00 Aw

 

 

UNITED STATES OF AMERICA, ) INITIALS: ie
)
Plaintiff, )
V. ) Criminal No. 17-cr-20103-TLP
) Criminal No. 17-cr-20151-TLP
O.B. HILDSON, ) Criminal No. 17-cr-20060-SHL
aka “OD,” )
)
Defendant. )
PLEA AGREEMENT
ly The following constitutes the Plea Agreement reached between the United States,

represented by D. Michael Dunavant, United States Attorney for the Western District of
Tennessee, and Mark Erskine, Assistant United States Attorney (hereinafter, “the Government” or
“the United States”), and O.B. Hildson (hereinafter “the Defendant”), represented by Taurus
Bailey, defense counsel. This agreement applies to the defendant’s three indicted cases, which are
pending in the Western District of Tennessee.

2. In case number 17-cr-20103-TLP, the Defendant, O.B. Hildson, has been charged
with five felony counts in the Second Superseding Indictment (17-cr-20103-TLP, RE-274, Second
Superseding Indictment). The penalties for the two counts to which the Defendant is pleading

guilty are:

a. In Count 7, the Defendant has been charged with aiding and abetting the
distribution of cocaine, a Schedule II controlled substance, in violation
of 21 U.S.C. § 841 and 18 U.S.C. § 2. As charged in Count 7, the
maximum penalty is NLT 5 yrs. imprisonment, NMT 40 yrs.
imprisonment, NMT $5,000,000 fine or both, NLT 4 yrs. supervised
release and a special assessment of $100. Additional fees may be imposed
to pay for incarceration or supervised release

b. In Count 9, the Defendant has been charged with conspiracy to commit
money laundering, in violation of Title 18, United States Code, Section
1956(h). As charged in Count 9, the maximum penalty is NMT 20 yrs.
imprisonment, NMT a $500,000 fine or twice the value of the property
involved in the transaction, whichever is greater, NMT 3 yrs. supervised
release, and a special assessment of $100. Additional fees may be
imposed to pay for incarceration or supervised release.

O.B. Hildson - Plea Agreement, Page | of 5
Case 2:17-cr-20151-TLP Document 864 Filed 12/17/20 Page2of5 PagelD 2914

3. In case number 17-cr-20151-TLP, the Defendant, O.B. Hildson, has been charged
with six felony counts in the Indictment (17-cr-20151-TLP, RE-4, Indictment). The penalties for
the three counts to which the defendant is pleading guilty are:

a. In Count 1, the Defendant has been charged with conspiracy to distribute at
least 100 kilograms of a mixture and substance containing marijuana, a
Schedule I controlled substance. However, the defendant is pleading guilty
to a lesser quantity of less than 50 kilograms of a mixture and substance
containing marijuana. The maximum penalty for this offense is NMT 5 yrs.
imprisonment, NMT $250,000 fine, or both, NLT 2 yrs. supervised release,
and a special assessment of $100. Additional fees may be imposed to pay
for incarceration or supervised release.

b. In Counts 5 and 6, the Defendant has been charged with aiding and
abetting the distribution of a detectable amount of marijuana, a Schedule
1 controlled substance, in violation of 21 U.S.C. § 841 and 18 U.S.C. §
2. As charged in Counts 5 and 6, the maximum penalty for this offense
is NMT 5 yrs. imprisonment, NMT $250,000 fine, or both, NLT 2 yrs.
supervised release, and a special assessment of $100. Additional fees may
be imposed to pay for incarceration or supervised release.

4. The Defendant, O.B. Hildson, has been charged with four felony counts in the
Second Superseding Indictment (17-cr-20060-SHL, RE-320, Second Superseding Indictment).
The penalties for the two counts to which the defendant is pleading guilty are:

a. In Count 4, the Defendant has been charged with conspiracy to distribute
Oxycodone, a Schedule II controlled substance, in violation of 21 U.S.C.
§ 841 and 846. As charged in Count 4, the maximum penalty is NMT
20 years imprisonment, NMT a $1,000,000 fine or both, NLT 3 years
supervised release, and a mandatory special assessment of $100.
Additional fees may be imposed to pay for incarceration or supervised
release.

b. In Count 7, the Defendant has been charged with aiding and abetting an
attempt to possess with intent to distribute cocaine, a Schedule II
controlled substance, in violation of 21 U.S.C. § 841 and 846. As
charged in Count 7, the maximum penalty is NLT 5 yrs. imprisonment,
NMT 40 yrs. imprisonment, NMT $5,000,000 fine or both, NL T 4 yrs.
supervised release

5. The Defendant affirms his attorney, Taurus Bailey, has informed him of the above-
referenced maximum possible penalties, the nature of these criminal charges, and the elements of
the charges, each of which must be proved by the Government beyond a reasonable doubt before
the Defendant could be found guilty as charged.

6. By voluntarily pleading guilty, the Defendant knowingly waives and gives up his
constitutional right to plead not guilty, to compel the Government to prove his guilt beyond a

O.B. Hildson - Plea Agreement, Page 2 of 5
Case 2:17-cr-20151-TLP Document 864 Filed 12/17/20 Page3of5 PagelD 2915

reasonable doubt, to not be compelled to incriminate himself, to confront and cross-examine the
witnesses against him, to have a jury or judge determine his guilt on the evidence presented, and
other constitutional rights which apply to a defendant on trial in a criminal case. By pleading
guilty, the Defendant knowingly, voluntarily, and intelligently waives his right to appeal his
conviction.

is The Defendant affirms he is pleading guilty to the charges described herein because
he is guilty and because it is in his best interest to do so, and not because of any threats or promises.
The Defendant affirms that there has been no representation made whatsoever by any agent or
employee of the United States to him as to what the final disposition of this matter should or will
be. He understands that the matter of sentencing is within the sole discretion of the Court. The
Defendant affirms he has discussed sentencing and the relevant sentencing guidelines provisions
with his attorney.

The parties understand the Plea Agreement in this case to be as follows:

8. In case number 17-cr-20103-TLP, the Defendant will enter a plea of guilty to
Counts 7 and 9, of the above-referenced Second Superseding Indictment. The government agrees
to dismiss Count | (conspiracy to distribute heroin), Count 2 (conspiracy to distribute cocaine) and
Count 3 (conspiracy to distribute methamphetamine) at the time of sentencing.

9. In case number 17-cr-20151-TLP, the Defendant will enter a plea of guilty to
Counts 1, 5, and 6 of the above-referenced Indictment. The government agrees to dismiss Count 2
(conspiracy to distribute hydrocodone), Count 3 (conspiracy to distribute oxycodone), and Count
9 (conspiracy to commit money laundering) at the time of sentencing.

10. In case number 17-cr-20060-SHL, the Defendant will enter a plea of guilty to
Counts 4 and 7 of the above-referenced Second Superseding Indictment. The government agrees
to dismiss Count 2 (conspiracy to distribute marijuana) and Count 3 (conspiracy to distribute
cocaine) at the time of sentencing.

11. The parties agree that any sentence imposed in cases 17-cr-20151-TLP, 17-cr-
20103-TLP, and 17-cr-20060-SHL will run concurrently with one another.

12. The parties have no agreements on relevant conduct or sentencing enhancements
and agree to reserve these issues for the sentencing hearing.

13. The Defendant understands, given the facts in the possession of the United States
at the time of the writing of this agreement, that the United States does not oppose his receiving
maximum acceptance of responsibility credit pursuant to U.S.S.G. Section 3E1.1. The Defendant
understands that if the United States receives information between the signing of this agreement
and the time of the sentencing that he has previously engaged in, or if he engages in the future in
conduct inconsistent with the acceptance of responsibility, including, but not limited to,
participation in any additional criminal activities between now and the time of sentencing, this
position could change. Further, the Defendant understands that whether or not acceptance of
responsibility credit is granted pursuant to Section 3E1.1 is a matter to be determined by the Court.
Failure of the Court to grant acceptance of responsibility credit is not a basis for him to withdraw
his guilty plea.

O.B. Hildson - Plea Agreement, Page 3 of 5
Case 2:17-cr-20151-TLP Document 864 Filed 12/17/20 Page4of5 PagelD 2916

14. The United States agrees to recommend a sentence within the sentencing guidelines
as calculated by the Court.

LS: The Defendant understands that Title 18, United States Code, Section 3742 gives
him the right to appeal the sentence imposed by the Court. Acknowledging this, the Defendant
knowingly and voluntarily waives his right to appeal any sentence imposed by the Court and the
manner in which the sentence is determined so long as the sentence is within or below the advisory
guidelines range as calculated by the Court. This waiver is made in exchange for the concessions
made by the United States in this Plea Agreement. The waiver in this paragraph does not apply
to claims relating to prosecutorial misconduct or ineffective assistance of counsel.

16. The Defendant understands that Title 28, United States Code, Section 2255
provides an additional method by which to challenge the sentence imposed by the Court.
Acknowledging this, the Defendant knowingly and voluntarily waives his right to file an action
pursuant to Section 2255. The waiver in this paragraph does not apply to claims relating to
prosecutorial misconduct or ineffective assistance of counsel.

17, The Defendant understands that the Government will be free to fully describe the
nature of the offense charged and the evidence in this case.

18. The Defendant understands that any statement made in the course of the plea
colloquy may be used against him in any criminal prosecution. The Defendant knowingly,

voluntarily, and intelligently waives any objection based on Rule 410 of the Federal Rules of
Evidence.

19. The Defendant willingly stipulates that there is a sufficient factual basis to support
each and every essential element of the offense set forth in the above-referenced indictments to
which he is pleading guilty.

20. The Defendant understands that a defendant convicted of a crime is required to pay
a mandatory assessment of $100 per felony count of conviction. The Defendant agrees that
payment of this assessment, in full, is a condition of this agreement and that such payment is due
at the time of his sentencing.

21. | The Defendant understands that this agreement does not apply to any crimes that
he may have committed (other than those specifically set forth herein), or that he may commit
hereafter, including perjury.

22. | The Defendant understands that a thorough presentence investigation will be
conducted and sentencing recommendations independent of the United States Attorney's Office
will be made by the preparer of the presentence report, which the Court may adopt or take into
consideration.

23. Should it be judged by the Government that the Defendant has committed or
attempted to commit any additional crimes or has engaged in any conduct constituting obstruction
of or impeding justice within the meaning of United States Sentencing Guidelines Section 3C1.1,
from the date of his signing this plea agreement to the date of his sentencing, or if the Defendant
attempts to withdraw his plea, the Defendant understands the Government will be released from

O.B. Hildson - Plea Agreement, Page 4 of 5
Case 2:17-cr-20151-TLP Document 864 Filed 12/17/20 Page5of5 PagelD 2917

its obligations and would become free to argue for any sentence within the statutory limits. The
Defendant further understands that such a breach by him would not release him from his plea of

guilty.

24. The Defendant understands that this Plea Agreement constitutes the entire
agreement between him and the United States. The Defendant affirms he has not been coerced,
threatened, or promised anything other than the terms of this Plea Agreement in exchange for his
plea of guilty. The Defendant understands that his attorney will have the opportunity to speak on
his behalf and that the Defendant will also have an opportunity to personally address the Court and
present any information to mitigate his sentence prior to the sentence being imposed.

25. The Defendant affirms he has read or has read to him the foregoing plea agreement
and has discussed the terms of this Plea Agreement with his attorney, Taurus Bailey, and that he
is satisfied with his attorney’s advice and counsel. Being aware of all of the possible
consequences of his plea, the Defendant affirms he has independently decided to enter this guilty
plea of his own free will, and is affirming that agreement on this date and by his signature below.

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DATE SIGNED O.B. HILDSON
Defendant
LAM BO ph -E&K
DATE SIGNED TAURUS BAILEY

Attorney for Defendant

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DATE SIGNED MARK ERSKINE
Assistant United States Attorney

O.B. Hildson - Plea Agreement, Page 5 of 5
